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                         [N THE UNITED STATES DISTRICT COURT �
                                                                                           IL
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                                     MAY 2 2 2020
                                    Alexandria Division
                                                                                CLERK, U.S. DISTRICT COURT
                                                                                   ALEXANDRII,. V!rJG""'
 IN RE: CAPITAL ONE CONSUMER                        )
 DATA SECURITY BREACH LITIGATION                    )      MDL No. l:19md2915 (AJT/JFA)


 This Document Relates to the Consumer Cases


                                              ORDER

        On Friday,May 22, 2020,counsel appeared on behalf of the parties and presented

 argument on plaintiffs' motion to compel discovery from the Amazon defendants. (Docket no.

 454). Upon consideration of the motion, memorandum in support,opposition, and reply (Docket

 nos. 454,455,472,480),and for the reasons stated during the hearing, it is hereby

        ORDERED that plaintiffs' motion to compel is granted in part and denied in part.

        Entered this 22nd day of May, 2020.
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                                                           rson
                                                    John F. Ande
                                                    United States Magistrate Judge
                                                    John F. Anderson
 Alexandria, Virginia                               United States Magistrate Judge
